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             EXHIBIT E
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                   United States District Court
                 The Eastern District Of New York
     -------------------------------------------------------------X
      Capital 7 Funding,                                              ANSWER TO
                                                                      AMENDED
                                                                      COMPLAINT
                                                                      Docket No. 17-cv-
                                                                      2374
                              Plaintiff
              - against -

      Wingfield Capital Corporation, Prestige
      Investment Associates, Inc., d/b/a
      Prestige Investments USA, and First
      Choice Payment Systems, Inc., d/b/a
      1st Choice Payments
                       Corporate Defendants

              And

      Burgis Sethna, a/k/a Seth Burgess,
      Heath Wagenheim, Joseph Rabito,
      Damian Laljie a/k/a Damian Laltie, and
      John Does 1 through 15,
                               Individual Defendants
     ------------------------------------------------------------------X

     COUNSELOR(S):

             Defendants, Wingfield Capital Corporation, Burgis Sethna, a/k/a

     Seth Burgess, and Heath Wagenheim by their attorneys, Metcalf & Metcalf,

     P.C., as and for its Answer to the Amended Complaint (hereafter referred to as

     “Complaint”), herein alleges as follows:

                             ANSWER TO NATURE OF THE ACTION
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           1.   Denies each and every allegation set forth in paragraph 1 of the

                complaint.

           2.   Denies each and every allegation set forth in paragraph 2 of the

                complaint.

           3.   Denies any knowledge or information sufficient to form a belief as

                to the allegations set forth in paragraph 3 of the complaint, except

                to the allegations set forth in paragraph 3 that state “the

                Defendants intended to use 3 Leaf as a vehicle from which to

                siphon money for their personal use, using Plaintiff’s initial

                investment in 3 Leaf as seed capital for their fraudulent scheme”

                the Defendants deny these allegations.

           4.   Denies each and every allegation set forth in paragraph 4 of the

                complaint.

           5.   Denies each and every allegation set forth in paragraph 5 of the

                complaint.

           6.   Denies each and every allegation set forth in paragraph 6 of the

                complaint.

           7.   Denies each and every allegation set forth in paragraph 7 of the

                complaint.

           8.   Denies each and every allegation set forth in paragraph 8 of the

                complaint.

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           9.   Denies each and every allegation set forth in paragraph 9 of the

                complaint.

                               ANSWER TO THE PARTIES

           10. Admits the allegations made in paragraph 10 of the complaint.

           11. Admits the allegations made in paragraph 11 of the complaint.

           12. Admits the allegations made in paragraph 12 of the complaint.

           13. Admits the allegations made in paragraph 13 of the complaint.

           14. Denies the allegations made in paragraph 14 of the complaint.

           15. Denies any knowledge or information sufficient to form a belief as

                to the allegations set forth in paragraph 15 of the complaint.

           16. Denies any knowledge or information sufficient to form a belief as

                to the allegations set forth in paragraph 16 of the complaint.

           17. Denies any knowledge or information sufficient to form a belief as

                to the allegations set forth in paragraph 17 of the complaint.

           18. Denies each and every allegation set forth in paragraph 18 of the

                complaint.

         ANSWER TO JURISDICTION, VENUE AND STATUTE OF

     LIMITATIONS

           19. Denies knowledge or information sufficient to form a belief as to

                the law and facts of the allegations set forth in paragraph 19 of the

                Complaint.

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           20. Denies knowledge or information sufficient to form a belief as to

                the law and facts of the allegations set forth in paragraph 20 of the

                Complaint.

           21. Denies knowledge or information sufficient to form a belief as to

                the law and facts of the allegations set forth in paragraph 21 of the

                Complaint.

                        ANSWER FOR FACTUAL BASIS FOR CLAIMS

           22. Denies knowledge or information sufficient to form a belief as to

                the law and facts of the allegations set forth in paragraph 22 of the

                Complaint.

         ANSWER TO THE INCORPORATION OF THE 3 LEAF JOINT

     VENTURE

           23. Denies each and every allegation set forth in paragraph 23 of the

                complaint.

           24. Denies each and every allegation set forth in paragraph 24 of the

                complaint.

           25. Denies each and every allegation set forth in paragraph 25 of the

                complaint.

           26. Denies each and every allegation set forth in paragraph 26 of the

                complaint.




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           27. Denies each and every allegation set forth in paragraph 27 of the

                complaint.

           28. Denies each and every allegation set forth in paragraph 28 of the

                complaint.

           29. Denies each and every allegation set forth in paragraph 29 of the

                complaint.

           30. Denies each and every allegation set forth in paragraph 30 of the

                complaint.

           31. Denies each and every allegation set forth in paragraph 31 of the

                complaint.

           32. Denies each and every allegation set forth in paragraph 32 of the

                complaint.

           33. Denies each and every allegation set forth in paragraph 33 of the

                complaint.

           34. Denies each and every allegation set forth in paragraph 34 of the

                complaint.

          35. Denies each and every allegation set forth in paragraph 35 of the

                complaint.

          36. Denies each and every allegation set forth in paragraph 36 of the

                complaint.




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           37. Denies knowledge or information sufficient to form a belief as to

                the law and facts of the allegations set forth in paragraph 37 of the

                Complaint.

           38. Denies each and every allegation set forth in paragraph 38 of the

                complaint.

           39. Denies each and every allegation set forth in paragraph 39 of the

                complaint.

           40. Denies each and every allegation set forth in paragraph 40 of the

                complaint.

           41. Denies each and every allegation set forth in paragraph 41 of the

                complaint.

           42. Denies each and every allegation set forth in paragraph 42 of the

                complaint.

           43. Denies each and every allegation set forth in paragraph 43 of the

                complaint.

           44. Denies each and every allegation set forth in paragraph 44 of the

                complaint.

           45. Denies each and every allegation set forth in paragraph 45 of the

                complaint.

          46. Denies each and every allegation set forth in paragraph 46 of the

                complaint.

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           47. Denies each and every allegation set forth in paragraph 47 of the

                complaint.

           48. Denies each and every allegation set forth in paragraph 48 of the

                complaint.

           49. Denies each and every allegation set forth in paragraph 49 of the

                complaint.

           50. Denies each and every allegation set forth in paragraph 50 of the

                complaint.

           51. Denies each and every allegation set forth in paragraph 51 of the

                complaint.

           52. Denies each and every allegation set forth in paragraph 52 of the

                complaint.

           53. Denies each and every allegation set forth in paragraph 53 of the

                complaint.

           54. Denies each and every allegation set forth in paragraph 54 of the

                complaint.

           55. Denies each and every allegation set forth in paragraph 55 of the

                complaint.

          56. Denies each and every allegation set forth in paragraph 56 of the

                complaint.




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           57. Denies each and every allegation set forth in paragraph 57 of the

                 complaint.

           58. Denies each and every allegation set forth in paragraph 58 of the

                 complaint.

     ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

         WINGFIELD’S AGREEMENT WITH CARILLO TRUCKING

           59. Denies each and every allegation set forth in paragraph 59 of the

                 complaint.

           60. Denies each and every allegation set forth in paragraph 60 of the

                 complaint.

           61. Denies each and every allegation set forth in paragraph 61 of the

                 complaint.

           62. Denies each and every allegation set forth in paragraph 62 of the

                 complaint.

           63.   Denies each and every allegation set forth in paragraph 63 of the

                 complaint.

           64. Denies knowledge or information sufficient to form a belief as to

                 facts of the allegations set forth in paragraph 64 of the Complaint.

           65. Denies each and every allegation set forth in paragraph 65 of the

                 complaint.




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           66. Denies each and every allegation set forth in paragraph 66 of the

                complaint.

           67. Denies each and every allegation set forth in paragraph 67 of the

                complaint.

           68. Denies each and every allegation set forth in paragraph 68 of the

                complaint.

           69. Denies each and every allegation set forth in paragraph 69 of the

                complaint.

           70. Denies each and every allegation set forth in paragraph 70 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

          WINGFIELD’S AGREEMENT WITH TWO PAPER DOLLS

           71. Denies each and every allegation set forth in paragraph 71 of the

                complaint.

           72. Denies each and every allegation set forth in paragraph 72 of the

                complaint.

           73. Denies each and every allegation set forth in paragraph 73 of the

                complaint.

           74. Denies each and every allegation set forth in paragraph 74 of the

                complaint.




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           75. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 75 of the Complaint.

           76. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 76 of the Complaint.

           77. Denies each and every allegation set forth in paragraph 77 of the

                complaint.

           78. Denies each and every allegation set forth in paragraph 78 of the

                complaint.

           79. Denies each and every allegation set forth in paragraph 79 of the

                complaint.

           80. Denies each and every allegation set forth in paragraph 80 of the

                complaint.

           81. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 76 of the Complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

             WINGFIELD’S FIRST AND SECOND AGREEMENT

                   WITH QUALITY PRODUCTS USA, CORP.

           82. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 82 of the Complaint.

           83. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 83 of the Complaint.

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           84. Denies each and every allegation set forth in paragraph 84 of the

                complaint.

           85. Denies each and every allegation set forth in paragraph 85 of the

                complaint.

           86. Denies each and every allegation set forth in paragraph 86 of the

                complaint.

           87. Denies each and every allegation set forth in paragraph 87 of the

                complaint.

           88. Denies each and every allegation set forth in paragraph 88 of the

                complaint.

           89. Denies each and every allegation set forth in paragraph 89 of the

                complaint.

           90. Denies each and every allegation set forth in paragraph 90 of the

                complaint.

           91. Denies each and every allegation set forth in paragraph 91 of the

                complaint.

           92. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 92 of the Complaint.

           93. Denies each and every allegation set forth in paragraph 93 of the

                complaint.




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           94. Denies each and every allegation set forth in paragraph 94 of the

                complaint.

           95. Denies each and every allegation set forth in paragraph 95 of the

                complaint.

           96. Denies each and every allegation set forth in paragraph 96 of the

                complaint.

           97. Denies each and every allegation set forth in paragraph 97 of the

                complaint.

           98. Denies each and every allegation set forth in paragraph 98 of the

                complaint.

           99. Denies each and every allegation set forth in paragraph 99 of the

                complaint.

           100. Denies each and every allegation set forth in paragraph 100 of the

                complaint.

           101. Denies each and every allegation set forth in paragraph 101 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

          3 LEAF’S FIRST AND SECOND AGREEMENT WITH 7110

                                  PARTNERS LLC

           102. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 103 of the Complaint.

                                           12
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           103. Denies each and every allegation set forth in paragraph 103 of the

                complaint.

           104. Denies each and every allegation set forth in paragraph 104 of the

                complaint.

           105. Denies each and every allegation set forth in paragraph 105 of the

                complaint.

           106. Denies each and every allegation set forth in paragraph 106 of the

                complaint.

           107. Denies each and every allegation set forth in paragraph 107 of the

                complaint.

           108. Denies each and every allegation set forth in paragraph 108 of the

                complaint.

           109. Denies each and every allegation set forth in paragraph 109 of the

                complaint.

           110. Denies each and every allegation set forth in paragraph 110 of the

                complaint.

           111. Denies each and every allegation set forth in paragraph 111 of the

                complaint.

           112. Denies each and every allegation set forth in paragraph 112 of the

                complaint.




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           113. Denies each and every allegation set forth in paragraph 113 of the

                complaint.

           114. Denies each and every allegation set forth in paragraph 114 of the

                complaint.

           115. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 115 of the Complaint.

           116. Denies each and every allegation set forth in paragraph 116 of the

                complaint.

           117. Denies each and every allegation set forth in paragraph 117 of the

                complaint.

           118. Denies each and every allegation set forth in paragraph 118 of the

                complaint.

           119. Denies each and every allegation set forth in paragraph 119 of the

                complaint.

           120. Denies each and every allegation set forth in paragraph 120 of the

                complaint.

           121. Denies each and every allegation set forth in paragraph 121 of the

                complaint.

           122. Denies each and every allegation set forth in paragraph 122 of the

                complaint.




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           123. Denies each and every allegation set forth in paragraph 123 of the

                complaint.

           124. Denies each and every allegation set forth in paragraph 124 of the

                complaint.

           125. Denies each and every allegation set forth in paragraph 125 of the

                complaint.

           126. Denies each and every allegation set forth in paragraph 126 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

         3 LEAF’S AGREEMENT WITH SABRE TRANSPORTATION,

                                        CORP.

           127. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 127 of the Complaint.

           128. Denies each and every allegation set forth in paragraph 128 of the

                complaint.

           129. Denies each and every allegation set forth in paragraph 129 of the

                complaint.

           130. Denies each and every allegation set forth in paragraph 130 of the

                complaint.

           131. Denies each and every allegation set forth in paragraph 131 of the

                complaint.

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           132. Denies each and every allegation set forth in paragraph 132 of the

                complaint.

           133. Denies each and every allegation set forth in paragraph 133 of the

                complaint.

           134. Denies each and every allegation set forth in paragraph 134 of the

                complaint.

           135. Denies each and every allegation set forth in paragraph 135 of the

                complaint.



      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

            3 LEAF’S AGREEMENT WITH SCRAPPY AUTO BODY

                                ASSOCIATES, INC.

           136. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 136 of the Complaint.

           137. Denies each and every allegation set forth in paragraph 137 of the

                complaint.

           138. Denies each and every allegation set forth in paragraph 138 of the

                complaint.

           139. Denies each and every allegation set forth in paragraph 139 of the

                complaint.




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           140. Denies each and every allegation set forth in paragraph 140 of the

                complaint.

           141. Denies each and every allegation set forth in paragraph 141 of the

                complaint.

           142. Denies each and every allegation set forth in paragraph 142 of the

                complaint.

           143. Denies each and every allegation set forth in paragraph 143 of the

                complaint.

           144. Denies each and every allegation set forth in paragraph 144 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

       3 LEAF’S AGREEMENT WITH POSTAL HIRING AUTHORITY

           145. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 145 of the Complaint.

           146. Denies each and every allegation set forth in paragraph 146 of the

                complaint.

           147. Denies each and every allegation set forth in paragraph 147 of the

                complaint.

           148. Denies each and every allegation set forth in paragraph 148 of the

                complaint.




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           149. Denies each and every allegation set forth in paragraph 149 of the

                complaint.

           150. Denies each and every allegation set forth in paragraph 150 of the

                complaint.

           151. Denies each and every allegation set forth in paragraph 151 of the

                complaint.

           152. Denies each and every allegation set forth in paragraph 152 of the

                complaint.

           153. Denies each and every allegation set forth in paragraph 153 of the

                complaint.

           154. Denies each and every allegation set forth in paragraph 154 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

        3 LEAF’S AGREEMENT WITH PROGRESS PRINTING, CORP.

           155. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 155 of the Complaint.

           156. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 156 of the Complaint.

           157. Denies each and every allegation set forth in paragraph 157 of the

                complaint.




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           158. Denies each and every allegation set forth in paragraph 158 of the

                complaint.

           159. Denies each and every allegation set forth in paragraph 159 of the

                complaint.

           160. Denies each and every allegation set forth in paragraph 160 of the

                complaint.

           161. Denies each and every allegation set forth in paragraph 161 of the

                complaint.

           162. Denies each and every allegation set forth in paragraph 162 of the

                complaint.

           163. Denies each and every allegation set forth in paragraph 163 of the

                complaint.

           164. Denies each and every allegation set forth in paragraph 164 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

              3 LEAF’S AGREEMENT WITH TEXAS NATIONAL

                              CONTRACTORS, LLC.

           165. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 165 of the Complaint.

           166. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 166 of the Complaint.

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           167. Denies each and every allegation set forth in paragraph 167 of the

                complaint.

           168. Denies each and every allegation set forth in paragraph 168 of the

                complaint.

           169. Denies each and every allegation set forth in paragraph 169 of the

                complaint.

           170. Denies each and every allegation set forth in paragraph 170 of the

                complaint.

           171. Denies each and every allegation set forth in paragraph 171 of the

                complaint.

           172. Denies each and every allegation set forth in paragraph 172 of the

                complaint.

           173. Denies each and every allegation set forth in paragraph 173 of the

                complaint.

           174. Denies each and every allegation set forth in paragraph 174 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

         3 LEAF’S AGREEMENT WITH RGV CONTRACTING, LLC.

           175. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 175 of the Complaint.




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           176. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 176 of the Complaint.

           177. Denies each and every allegation set forth in paragraph 177 of the

                complaint.

           178. Denies each and every allegation set forth in paragraph 178 of the

                complaint.

           179. Denies each and every allegation set forth in paragraph 179 of the

                complaint.

           180. Denies each and every allegation set forth in paragraph 180 of the

                complaint.

           181. Denies each and every allegation set forth in paragraph 181 of the

                complaint.

           182. Denies each and every allegation set forth in paragraph 182 of the

                complaint.

           183. Denies each and every allegation set forth in paragraph 183 of the

                complaint.

           184. Denies each and every allegation set forth in paragraph 184 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

             3 LEAF’S AGREEMENT WITH GRANDPARK, CORP.




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           185. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 185 of the Complaint.

           186. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 186 of the Complaint.

           187. Denies each and every allegation set forth in paragraph 187 of the

                complaint.

           188. Denies each and every allegation set forth in paragraph 188 of the

                complaint.

           189. Denies each and every allegation set forth in paragraph 189 of the

                complaint.

           190. Denies each and every allegation set forth in paragraph 190 of the

                complaint.

           191. Denies each and every allegation set forth in paragraph 191 of the

                complaint.

           192. Denies each and every allegation set forth in paragraph 192 of the

                complaint.

           193. Denies each and every allegation set forth in paragraph 193 of the

                complaint.

           194. Denies each and every allegation set forth in paragraph 194 of the

                complaint.




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      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

         3 LEAF’S AGREEMENT WITH KRP HOLDINGS/SOTERIA

           195. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 195 of the Complaint.

           196. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 196 of the Complaint.

           197. Denies each and every allegation set forth in paragraph 197 of the

                complaint.

           198. Denies each and every allegation set forth in paragraph 198 of the

                complaint.

           199. Denies each and every allegation set forth in paragraph 199 of the

                complaint.

           200. Denies each and every allegation set forth in paragraph 200 of the

                complaint.

           201. Denies each and every allegation set forth in paragraph 201 of the

                complaint.

           202. Denies each and every allegation set forth in paragraph 202 of the

                complaint.

           203. Denies each and every allegation set forth in paragraph 203 of the

                complaint.




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           204. Denies each and every allegation set forth in paragraph 204 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

              3 LEAF’S AGREEMENT WITH SBS AMERICA, LLC

           205. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 205 of the Complaint.

           206. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 206 of the Complaint.

           207. Denies each and every allegation set forth in paragraph 207 of the

                complaint.

           208. Denies each and every allegation set forth in paragraph 208 of the

                complaint.

           209. Denies each and every allegation set forth in paragraph 209 of the

                complaint.

           210. Denies each and every allegation set forth in paragraph 210 of the

                complaint.

           211. Denies each and every allegation set forth in paragraph 211 of the

                complaint.

           212. Denies each and every allegation set forth in paragraph 212 of the

                complaint.




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           213. Denies each and every allegation set forth in paragraph 213 of the

                complaint.

           214. Denies each and every allegation set forth in paragraph 214 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

      3 LEAF’S AGREEMENT WITH DIRECT ENTERPRISES/REMAX

           215. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 215 of the Complaint.

           216. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 216 of the Complaint.

           217. Denies each and every allegation set forth in paragraph 217 of the

                complaint.

           218. Denies each and every allegation set forth in paragraph 218 of the

                complaint.

           219. Denies each and every allegation set forth in paragraph 219 of the

                complaint.

           220. Denies each and every allegation set forth in paragraph 220 of the

                complaint.

           221. Denies each and every allegation set forth in paragraph 221 of the

                complaint.




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           222. Denies each and every allegation set forth in paragraph 222 of the

                complaint.

           223. Denies each and every allegation set forth in paragraph 223 of the

                complaint.

           224. Denies each and every allegation set forth in paragraph 224 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

            3 LEAF’S AGREEMENT WITH L AND B SNACKS, LLC

           225. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 225 of the Complaint.

           226. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 226 of the Complaint.

           227. Denies each and every allegation set forth in paragraph 227 of the

                complaint.

           228. Denies each and every allegation set forth in paragraph 228 of the

                complaint.

           229. Denies each and every allegation set forth in paragraph 229 of the

                complaint.

           230. Denies each and every allegation set forth in paragraph 230 of the

                complaint.




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           231. Denies each and every allegation set forth in paragraph 231 of the

                complaint.

           232. Denies each and every allegation set forth in paragraph 232 of the

                complaint.

           233. Denies each and every allegation set forth in paragraph 233 of the

                complaint.

           234. Denies each and every allegation set forth in paragraph 234 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

          3 LEAF’S AGREEMENT WITH CHRISTOPHER’S HOUSE

           235. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 235 of the Complaint.

           236. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 236 of the Complaint.

           237. Denies each and every allegation set forth in paragraph 237 of the

                complaint.

           238. Denies each and every allegation set forth in paragraph 238 of the

                complaint.

           239. Denies each and every allegation set forth in paragraph 239 of the

                complaint.




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           240. Denies each and every allegation set forth in paragraph 240 of the

                complaint.

           241. Denies each and every allegation set forth in paragraph 2241 of the

                complaint.

           242. Denies each and every allegation set forth in paragraph 242 of the

                complaint.

           243. Denies each and every allegation set forth in paragraph 243 of the

                complaint.

           244. Denies each and every allegation set forth in paragraph 244 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

        3 LEAF’S FIRST AND SECOND AGREEMENT WITH CHICKY

                                        BOOM

           245. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 245 of the Complaint.

           246. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 246 of the Complaint.

           247. Denies each and every allegation set forth in paragraph 247 of the

                complaint.

           248. Denies each and every allegation set forth in paragraph 248 of the

                complaint.

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           249. Denies each and every allegation set forth in paragraph 249 of the

                complaint.

           250. Denies each and every allegation set forth in paragraph 250 of the

                complaint.

           251. Denies each and every allegation set forth in paragraph 251 of the

                complaint.

           252. Denies each and every allegation set forth in paragraph 252 of the

                complaint.

           253. Denies each and every allegation set forth in paragraph 253 of the

                complaint.

           254. Denies each and every allegation set forth in paragraph 254 of the

                complaint.

           255. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 255 of the Complaint.

           256. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 256 of the Complaint.

           257. Denies each and every allegation set forth in paragraph 257 of the

                complaint.

           258. Denies each and every allegation set forth in paragraph 258 of the

                complaint.




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           259. Denies each and every allegation set forth in paragraph 259 of the

                complaint.

           260. Denies each and every allegation set forth in paragraph 260 of the

                complaint.

           261. Denies each and every allegation set forth in paragraph 261 of the

                complaint.

           262. Denies each and every allegation set forth in paragraph 262 of the

                complaint.

           263. Denies each and every allegation set forth in paragraph 263 of the

                complaint.

           264. Denies each and every allegation set forth in paragraph 264 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

        3 LEAF’S AGREEMENT WITH HAILEYS/MIDDLETON PUB,

                                        CORP.

           265. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 265 of the Complaint.

           266. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 266 of the Complaint.

           267. Denies each and every allegation set forth in paragraph 267 of the

                complaint.

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           268. Denies each and every allegation set forth in paragraph 268 of the

                complaint.

           269. Denies each and every allegation set forth in paragraph 269 of the

                complaint.

           270. Denies each and every allegation set forth in paragraph 270 of the

                complaint.

           271. Denies each and every allegation set forth in paragraph 271 of the

                complaint.

           272. Denies each and every allegation set forth in paragraph 272 of the

                complaint.

           273. Denies each and every allegation set forth in paragraph 273 of the

                complaint.

           274. Denies each and every allegation set forth in paragraph 274 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

            3 LEAF’S AGREEMENT WITH CORCHO VINE CORP.

           275. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 275 of the Complaint.

           276. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 276 of the Complaint.




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           277. Denies each and every allegation set forth in paragraph 277 of the

                complaint.

           278. Denies each and every allegation set forth in paragraph 278 of the

                complaint.

           279. Denies each and every allegation set forth in paragraph 279 of the

                complaint.

           280. Denies each and every allegation set forth in paragraph 280 of the

                complaint.

           281. Denies each and every allegation set forth in paragraph 281 of the

                complaint.

           282. Denies each and every allegation set forth in paragraph 282 of the

                complaint.

           283. Denies each and every allegation set forth in paragraph 283 of the

                complaint.

           284. Denies each and every allegation set forth in paragraph 284 of the

                complaint.

           285. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 285 of the Complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

            3 LEAF’S AGREEMENT WITH FURNISHING DIRECT




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           286. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 286 of the Complaint.

           287. Denies each and every allegation set forth in paragraph 287 of the

                complaint.

           288. Denies each and every allegation set forth in paragraph 288 of the

                complaint.

           289. Denies each and every allegation set forth in paragraph 289 of the

                complaint.

           290. Denies each and every allegation set forth in paragraph 290 of the

                complaint.

           291. Denies each and every allegation set forth in paragraph 291 of the

                complaint.

           292. Denies each and every allegation set forth in paragraph 292 of the

                complaint.

           293. Denies each and every allegation set forth in paragraph 293 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

           3 LEAF’S AGREEMENT WITH LUXE BOUTIQUE, LLC

           294. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 294 of the Complaint.




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           295. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 295 of the Complaint.

           296. Denies each and every allegation set forth in paragraph 296 of the

                complaint.

           297. Denies each and every allegation set forth in paragraph 297 of the

                complaint.

           298. Denies each and every allegation set forth in paragraph 298 of the

                complaint.

           299. Denies each and every allegation set forth in paragraph 299 of the

                complaint.

           300. Denies each and every allegation set forth in paragraph 300 of the

                complaint.

           301. Denies each and every allegation set forth in paragraph 301 of the

                complaint.

           302. Denies each and every allegation set forth in paragraph 302 of the

                complaint.

           303. Denies each and every allegation set forth in paragraph 303 of the

                complaint.

      ANSWER TO DEFENDANTS’ THEFT OF MONIES RELATED TO

      3 LEAF’S AGREEMENT WITH MILLENNIUM TRAVEL & TOURS




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           304. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 304 of the Complaint.

           305. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 305 of the Complaint.

           306. Denies each and every allegation set forth in paragraph 306 of the

                complaint.

           307. Denies each and every allegation set forth in paragraph 307 of the

                complaint.

           308. Denies each and every allegation set forth in paragraph 308 of the

                complaint.

           309. Denies each and every allegation set forth in paragraph 309 of the

                complaint.

           310. Denies each and every allegation set forth in paragraph 310 of the

                complaint.

           311. Denies each and every allegation set forth in paragraph 311 of the

                complaint.

           312. Denies each and every allegation set forth in paragraph 312 of the

                complaint.

           313. Denies each and every allegation set forth in paragraph 313 of the

                complaint.




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           314. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 314 of the Complaint.

           315. Denies knowledge or information sufficient to form a belief as to

                facts of the allegations set forth in paragraph 315 of the Complaint.

           316. Denies each and every allegation set forth in paragraph 316 of the

                complaint.

           317. Denies each and every allegation set forth in paragraph 317 of the

                complaint.

           318. Denies each and every allegation set forth in paragraph 318 of the

                complaint.

           319. Denies each and every allegation set forth in paragraph 319 of the

                complaint.

           320. Denies each and every allegation set forth in paragraph 320 of the

                complaint.

           321. Denies each and every allegation set forth in paragraph 321 of the

                complaint.

           322. Denies each and every allegation set forth in paragraph 322 of the

                complaint.

           323. Denies each and every allegation set forth in paragraph 323 of the

                complaint.




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           324. Denies each and every allegation set forth in paragraph 296 of the

                complaint.

                ANSWER TO DEFENDANTS’ VIOLATION OF THE

                  FEDERAL WIRE FRAUD STATUTE18 U.S.C. §1343

           325. Denies each and every allegation set forth in paragraph 325 of the

                complaint.

           326. Denies each and every allegation set forth in paragraph 326 of the

                complaint.

           327. Denies each and every allegation set forth in paragraph 327 of the

                complaint.

           328. Denies each and every allegation set forth in paragraph 328 of the

                complaint.

           329. Denies each and every allegation set forth in paragraph 329 of the

                complaint.

             ANSWER TO DEFENDANTS’ VIOLATION OF THE

              FEDERAL MONEY LAUNDERING 18 U.S.C. §1956

           330. Denies all knowledge or information sufficient to form a belief as

              to the law

                  and facts of the allegations set forth in paragraph 330 of the

        Complaint.




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            331. Denies each and every allegation set forth in paragraph 331 of the

                complaint.

            332. Denies each and every allegation set forth in paragraph 332 of the

                complaint.

            333. Denies each and every allegation set forth in paragraph 333 of the

                complaint.

                                AFFIRMATIVE DEFENSES

            334. As and for their affirmative defenses to the Complaint, the

                Defendants, by their undersigned attorneys, allege as follows:

                            FIRST AFFIRMATIVE DEFENSE

     The Verified Complaint should be dismissed for failure to state a cause of

     action as against defendant,

                          SECOND AFFIRMATIVE DEFENSE

     Plaintiffs’ claims fail because, at all times relevant hereto, the Defendants acted
     in good
     faith and did not violate any right that may be secured to Plaintiffs under any

     federal, state or local laws, rules, regulations or guidelines. The claims alleged in

     the Complaint are barred as Defendants have fulfilled all of their obligations to

     plaintiffs, if any existed at all.

                                          JURY DEMAND

     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the Defendants

     respectfully

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     demand a trial by jury on any and all issues so triable.

            WHEREFORE, the answering defendant demand a judgment against

     the Plaintiff as follows:

            (a) Dismissing the Complaint and each and every cause of action
                therein;
            (b) Awarding the Defendants their costs, reasonable attorney’s fees and
                disbursements incurred in defending this action; and
            (c) Awarding Defendants such other and further relief as may be
                deemed just and proper.


     Dated:     New York, NY
           December 9, 2020
                                                      Respectfully Submitted,

     `                                                _________________________
                                                      STEVEN A. METCALF, II, ESQ
                                                      METCALF & METCALF, P.C.
                                                      Attorneys for Defendants
                                                      99 Park Avenue, 25th Floor
                                                      New York, New York 10016
                                                      (Phone) INSERT HERE
                                                      (Fax) INSERT HERE


     TO:




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